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                          EXHIBIT 2
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    From:             Char McCrary
    To:
    Subject:          Broadcast Fax Transition
    Date:             Friday, July 30, 2021 8:47:51 AM
    Attachments:      07-30-2021 All Removals.csv


   Good Morning                ,

       , I believe Barry has spoken to you about WestFax transitioning away from broadcast faxing. We
   have secured another company, jBlast, that will continue your broadcast fax service. A rep will be
   reaching out to you shortly to send you a link to sign up.
   I have attached your current removal list for your files.

   Charlotte McCrary
   Customer Service
   T 303.299.9329
   F 866.524.5052
   char@westfax.com

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